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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 11

 Fluid Market, Inc., et al.,                           Case No. 24-12363 (CTG)

                          Debtor(s).                   (Jointly Administered)

                                                       Hrg. Date: 1/15/25 at 3:00 p.m. ET

                                                       Obj. Deadline: 1/3/25



                   NOTICE OF CREDITOR’S MOTION FOR AN ORDER
                     MODIFYING STAY AND PLAN INJUNCTION

          PLEASE TAKE NOTICE that Creditor, Abel Gurrola-Martinez (hereinafter “Creditor”),

by and through his undersigned counsel, filed Creditor’s Motion for an Order Modifying Stay and

Plan Injunction (the “Motion”) with the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”). More specifically, Creditor seeks authority to proceed with

a state court action against the Debtor(s), as nominal parties only, and to proceed to collect any

judgment or settlement obtained solely against available insurance proceeds.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to relief requested in the

Motion shall be filed on or before            January 3, 2025           (prevailing Eastern

Standard Time) (the “Objection Deadline”);

          PLEASE TAKE FURTHER NOTICE that a hearing (the “Hearing”) on the Motion will

be held on      1/15/25         at     3:00 p.m.     (Eastern   Standard    Time)     before   the

Honorable Craig T. Goldblatt at the United States Bankruptcy Court for the District of Delaware,

824 Market Street, 3rd Floor, Courtroom #7, Wilmington, Delaware 19801;
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       The hearing date specified above may be a preliminary hearing or may be consolidated

with the final hearing, as determined by the Court.

       The attorneys for the parties shall confer with respect to the issues raised by the Motion in

advance for the purpose of determining whether a consent judgment may be entered and for the

purpose of stipulating to relevant facts.

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.


Dated: December 12, 2024               KASEN & KASEN, P.C.

                                       /s/ Jenny R. Kasen
                                       Jenny R. Kasen, Esquire (DE Bar No. 5849)
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                                       Counsel to Creditor




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